David Paul Biesemeyer IR E C E | V E [D)

7650 E. Jim Cottrell

Palmer, AK 99645 JUN 11 2024

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Pro Se

IN THE UNITED STATE DISTRICT COURT FOR THE DISTRICT OF ALASKA
ANCHORAGE DIVISION

DAVID PAUL BIESEMEYER

Plaintiff
Case No. 3:23-CV-00185 SLG KFR

V.
JURY TRIAL DEMANDED

THE MUNICIPALITY OF
ANCHORAGE, ALASKA

Defendant

PLAINTIFF’S RESPONSE IN OPPOSITION TO THE DEFENDANT’S
SECOND MOTION TO DISMISS

COMES NOW the Plaintiff, David Paul Biesemeyer, and files this response in opposition
to Defendant Municipality of Anchorage’s Second Motion to Dismiss the Plaintiffs Amended
Complaint, said Motion being filed on May 24, 2024, and served on the Plaintiff by first class mail.
Per the Court rules, the Plaintiff had 21 days to respond in opposition to the Motion, plus any days
allowed for service by mail. This is the Plaintiff's Response in Opposition to that motion.

This Response in Opposition has been filed in under 21 days from the time that the Plaintiff
was served with the motion for which this response is in opposition; it contains less than the

maximum pages authorized for Responses in Opposition to Motions to Dismiss under Rule 12(b).

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INTRODUCTION
On March 13, 2024, the Court granted the Defendant's Motion to Dismiss the Plaintiff's
original complaint in the instant action. The dismissal of the Plaintiff's original complaint was
without prejudice and with leave to amend. As the Court had determined that the Plaintiff alleged
facts sufficient to permit a reasonable inference that the tax foreclosure and subsequent sale of
his property were not purely remedial and were disproportionate in relation to what he did to
trigger these events, an actionable Eighth Amendment claim had been stated ‘but-for’ the statute

of limitations issue that appeared to apply.

THE SINGLE DEFICIENCY THAT NEEDED CURING PER THE COURT IN ORDER FOR THE
PLAINTIFF TO STATE AN ACTIONABLE CLAIM

On page 16 of its Order of March 13, 2024, the Court instructed that if the Plaintiff
successfully cured the statute of limitations issue, he will have stated a cognizable claim for

violation of the Excessive Fines Clause. Whereupon leave to Amend was granted on page 18 of
that same Order.

In conformance therewith, the Plaintiff prepared and filed his First Amended Complaint
which corrected the deficiencies of the original in accordance with the Court's Order of March 13,

2024.

To assist in its preparation, the Plaintiff looked to the Order where the Court noted:

” “To survive a motion to dismiss [pursuant to Rule 12(b)(6)], a complaint
must contain sufficient factual matter, accepted as true, to ‘state a claim to relief
that is plausible on its face.” A complaint must provide “well-pleaded facts, not
legal conclusions, that ‘plausibly give rise to an entitlement to relief.” “A statute-
of-limitations defense, if ‘apparent from the face of the complaint,’ may properly be
raised in a motion to dismiss.” However, “[w]hen a motion to dismiss is based on
the running of the statute of limitations, it can be granted only if the assertions of
the complaint, read with the required liberality, would not permit the plaintiff to
prove” that the statute has not run. A court must liberally construe the filings of a

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self-represented plaintiff and afford the plaintiff the benefit of any reasonable
doubt.” [ORDER on 1st MTD pgs 3-4]

“Although “statutes of limitations are affirmative defenses, not pleading
requirements,” a “claim may be dismissed as untimely pursuant to a [Rule] 12(b)(6)
motion when the running of the statute of limitations is apparent on the face of the
complaint.” Whether a § 1983 claim is timely depends on a combination of state
and federal law that determines (1) the length of the applicable limitations period,
(2) the accrual date of the claim, and (3) whether the limitations period was tolled.”
[ORDER on 1st MTD pg 4]

“With respect to the first issue, Plaintiff asserts that the governing statute
of limitations is set forth in either Alaska Statute 09.10.230 or Alaska Statute
09.10.100, both of which provide for a 10-year limitations period. Defendant,
meanwhile, contends that the governing statute of limitations is set forth in Alaska
Statute 09.10.070(a), which provides for a two-year limitations period. Defendant
is correct. “For actions under 42 U.S.C. § 1983, courts apply the forum state’s
statute of limitations for personal injury actions.” In Alaska, AS 09.10.070(a)
requires that a personal injury action be “commenced within two years of the
accrual of the cause of action.” [ORDER on 1st MTD pg 6]

After that bit of stage setting exposition, the Court went into the meat of what it would need
to see in an amended complaint to sufficiently validate the actionability of the facts Plaintiff

alleged:

“At the motion to dismiss stage, “[t]he sole issue is whether the complaint,
liberally construed in light of our ‘notice pleading’ system, adequately alleges
facts showing the potential applicability of the equitable tolling doctrine.”
[ORDER on 1st MTD pg 8]

Footnote 57 of the Order was the most instructive part of the Court’s roadmap for correctly
pleading ‘equitable’ matters at this stage of the litigation as it provided the Plaintiff with the true

measure of what it expected to see if the amended complaint was be accepted by the Court:

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“FN 57 The Court nevertheless rejects Defendant's suggestion that
elevated pleading standards govern Plaintiff's equitable tolling claim. Defendant
relies on Richardson v. Municipality of Anchorage, 360 P.3d 79 (Alaska 2015), to
support this notion. Doc. 4 at 5-6. There, the plaintiff moved for tolling under a
statute that provides for tolling when a person is “incompetent by reason of
mental illness or mental disability.” Richardson, 360 P.3d at 87 (quoting AS
09.10.140(a)). The defendants’ motions to dismiss were “effectively converted to
motions for summary judgment,” which required the plaintiff to set forth specific
facts showing that he could produce evidence of an “inability to understand his
legal rights,” as required for tolling under the relevant statute. Richardson, 360
P.3d at 88. The distinct procedural posture in Richardson renders it inapposite for
determining the applicable pleading standards in the present action, which are
governed by federal law. Cf. Walker v. Pac. Maritime Ass’n, No. C07-3100BZ,
2007 WL 4591672, at *2 (N.D. Cal. Dec. 28, 2007) (“While it is not clear that
plaintiff will be able to make a sufficient showing of mental incompetency for the
time period in question, construing his pleadings in the light most favorable to
him, it. . . appear[s] that there might be some plausible basis for application of
the equitable tolling doctrine in this pro se case.”), Supermail Cargo, Inc. v.
United States, 68 F.3d 1204, 1207-08 (9th Cir. 1995) (“Reading the allegations
in the complaint with the required liberality, we cannot say that [plaintiff] will be
unable to establish that the nine month limitations period was tolled up to the
date that it learned of the [alleged injury].”).”. [ORDER on 1st MTD FN 57]
(Emphasis Added)

Thus, in accordancewith the Court’s instructional roadmap, the Plaintiff prepared and filed

his Amended Complaint.

THE AMENDMENTS TO THE COMPLAINT PROVIDE A PLAUSIBLE BASIS FOR THE
APPLICATION OF THE EQUITABLE TOLLING DOCTRINE, AS WELL AS THE DOCTRINES
OF EQUITABLE ESTOPPEL & QUASI-ESTOPPEL, AND THEREFORE CURE THE
PREVIOUS COMPLAINT’S SINGLE DEFICIENCY PREVENTING ACTIONABILITY

Because it was prepared in accordance with the instruction’s contained within the Court's
March 13, 2024, Order, the revised factual allegations presented in, and the additional supporting

documents attached as exhibits to, the amended complaint were specifically intended to cure the

statutes of limitations issue for purposes of surviving a motion to dismiss; they sufficiently provide

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a plausible basis for the application of the equitable tolling doctrine, as well as the doctrines of
equitable estoppel & quasi-estoppel, both of which would prevent the Defendant from availing
itself to the limitations defense it would raise in order to escape liability for the Constitutional torts
it has committed against the Plaintiff.

Under the doctrine of equitable estoppel, the facts and circumstances set out within the
Amended Complaint also plausibly provide a basis for disallowing the Defendant to avail itself of
a limitations period in this litigation. Those same facts and circumstances also support the
application of the doctrine of quasi-estoppel, as it is understood in Alaskan jurisprudence, which

similarly prevents the Defendant from availing itself of the limitations defense.

THE DOCTRINE OF QUASI-ESTOPPEL

In preparing this Response, the Plaintiff discovered that Alaska also has something called
Quasi-Estoppel, the elements of which are most certainly met by the factual, non conclusory
assertions, arguments and inferences existing and contained within the Amended Complaint.

Because Plaintiff learned of Alaska’s quasi-estoppel doctrine through an article in the 1998
Alaska Law Review entitled “Blowing Hot And Cold On The Frozen Tundra: A Review Of Alaskas
Quasi-Estoppel Doctrine” while in the midst of writing this Response in Opposition, he was unable
to include it as a part of the Amended Complaint that ‘pre-argued’ anticipated issues that could
raised in a motion which sought to dismiss it.

Though not addressed by the Plaintiff as a theory in his Amended Complaint, ever since
being made aware of the doctrine of quasi-estoppel, he has held the position that it, more so than
any of the other ‘equitable’ doctrines available, is the one easiest to argue, and make a showing
of, for purposes of plausibility where the Plaintiff receives all reasonable doubts resolved in his

favor.

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Quasi-estoppel is an equitable doctrine that, where applicable, prevents litigants from
taking positions inconsistent with those they have previously asserted. See Bromley v. Mitchell,
902 P.2d 797, 802 (Alaska 1995); In re Lampert, 896 P.2d 214, 220 (Alaska 1995) also Union Oil
Co. of Calif. v. State, 804 P.2d 62, 66 n.7 (Alaska 1990); Sea Lion Corp. v. Air Logistics of Alaska,
787 P.2d 109, 114 n.2 (Alaska 1990). Also See Jamison v. Consolidated Utils., Inc., 576 P.2d
97, 102 (Alaska 1978) (“Among the many considerations which may indicate that . . . quasi-
estoppel should be applied [is] whether the party asserting the inconsistent position has gained
an advantage or produced some disadvantage through the first position.”),

Noting that quasi-estoppel “springs from . . . [an] acceptance of benefits,” the Alaska
Supreme Court has stated: It is a long-established principle of equity that no person will be allowed
to adopt that part of a transaction which is favorable to him, and reject the rest to the injury of
those from whom he derived the benefit. It is a plain principle of justice, of right, and of law, that
aman can not accept the benefits, and reject the burdens, of a transaction. Dressel v. Weeks,
779 P.2d 324, 332 (Alaska 1989) (citations and internal quotation marks omitted); see also In re
Davidson, 947 F.2d 1294, 1297 (5th Cir. 1991) (“One form of estoppel, ‘quasi estoppel,’ forbids a
party from accepting the benefits of a transaction or statute and then subsequently taking an
inconsistent position to avoid the corresponding obligations or effects.”).

In essence, the doctrine protects the integrity of the judicial process, See Smith, 791 P.2d
at 356, 358, by preventing litigants from “blow[ing] both hot and cold”, Lampert, 896 P.2d at 221
(quoting Godoy v. County of Hawaii, 354 P.2d 78, 82 (Haw. 1960)); cf. Searfus v. Northern Gas
Co., 472 P.2d 966, 970 n.13 (Alaska 1970), where the assertion of inconsistent positions would
be unconscionable. See Jamison, 76 P.2d at 102 (“The essence of the doctrine of quasi estoppel
is the existence of facts and circumstances making the assertion of an inconsistent position
unconscionable.”). “Unconscionable” generally is defined as grossly unfair, unjust, inequitable,

oppressive, or unduly harsh. See id. at 102-03.

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The doctrine of quasi-estoppel provides both practitioner and pro se with a tool to
legitimately appeal to the conscience of the court. See Maynard v. State Farm Mut. Auto. Ins.
Co., 902 P.2d 1328, 1330 (Alaska 1995). The Defendant's actions towards the Plaintiff in the
matter have been unconscionable this entire time.

Therefore, onto his facts as stated, the Plaintiff attaches the Alaskan version of the quasi-
estoppel doctrine, as itis understood at its mostexpansive, in addition to the doctrines of equitable
tolling and equitable estoppel, into his arguments (Both of which are set out most
comprehensively with citing authorities in the amended complaint itself, in pre-anticipation of the
motion now before the court.)

The Court should take note of the doctrine’s parameters and note how the facts and
circumstances in this matter become even more shocking when considering the Amended
Complaint’s allegations and evidence which indicate that Plaintiff actually complied with the
instructions he received for claiming the excess funds vis a vis the Municipality’s subsequent non-
compliance with requirements to forward those excess funds to the Unclaimed Property Division,
which only arose when the Plaintiff was unable able to timely submit the address confirmation
requested in a letter which, by its very existence, confirms Plaintiff properly claimed the excess.

The confirmation letter was also received 12 days after the expiration of the 15 day time
period allowed by that same letter for the Plaintiff to either confirm his address or have the funds
sent to the Unclaimed Property Division. The Defendant neither forwarded the excess to the
Unclaimed Property Division on the 16th day after the date on the letter which acknowledged
Plaintiff's claim and requested address confirmation, nor did the Defendant forward the excess to
the Plaintiff after his address was confirmed. The exhibits attached to the Amended Complaint
which speak to these matters speak for themselves in that regard.

What follows are highlights of the relevant exhibits to the Amended Complaint and

explanations of how they interact to support the Plaintiff's claims.

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SPECIFIC SECTIONS FROM THE AMENDED COMPLAINT WHICH MAKE SHOWINGS
RELEVANT TO THE ISSUES OF EQUITABLE TOLLING, EQUITABLE ESTOPPEL & QUASI-
ESTOPPEL AS WELL AS THE DEFENDANT’S LIABILITY.

The First Amended Complaint that the Plaintiff submitted in compliance with the
instructions of the Court in its March 23, 2024, Order, was filed in the Court's docket as
Documents 12 through 12-25. Document 12 is the substantive body of the First Amended
Complaint, built on the framework of the previous original complaint, but containing new and
expanded sections which present facts that cure the deficiencies noted by the Court as they are
relevant to addressing the equitable tolling of the limitations period, as facts designed to invoke
the doctrines of equitable estoppel & quasi-estoppel, both of which would disallow the Defendant's
use of the limitations period as a defense, are also presented.

Document 12-1 is a section entitled “Exhibits to Amended Complaint Identified & Adopted
with Commentary & Argument’ which sets out by description the identity, and in argument the
importance, of the exhibits, Documents 12-2 thru 12-25. Document 12-1 is integral in tying the
allegations made in the body of the amended complaint proper (Document 12) to the exhibits
which have been attached to it in support of, or to establish a fact and provide a sound basis for
certain material inferences.

Initially, reviewing the First Amended Complaint reveals that it is verified. (Document 12,
Page 34) Moving on from that, paragraphs 29-107 of the Amended Complaint set out facts
sufficient for a finding that the Plaintiff has successfully pleaded equitable tolling for purposes of
the current procedural posture. These paragraphs are lengthy and specific; they refer to exhibits
attached to the COmplaint which are also lengthy and specific.

Paragraphs 148 - 151 of Document 12 discusses the policy of removing fee simple non-

mortgaged owners to replace with owners having a mortgage. The importance of this policy is

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gone into detail as it goes to issues that may arise which have not otherwise been covered in the
original complaint where the Court found that but for the issues with the statute of limitations, the
Plaintiff has stated an Eighth Amendment claim against the Defendant.

Paragraph 154 of Document 12 incorporates the ‘Summary of Exhibits’, a misnomer for
the “Exhibits to Amended Complaint Identified & Adopted with Commentary & Argument’, located
at Document 12-1, which is described as providing "evidence sufficient to support a finding of an
unlawful scheme or practice designed to obfuscate the money trail and cover up [the Defendant's]
actions."

Paragraphs 156-162 also state facts sufficient to indicate that the Defendant engaged in
questionable actions to give the appearance that the Plaintiff did not comply with the process for
claiming the excess funds when, in fact, he did comply to the best of his ability, and in light of the
circumstances. These facts were more fully set out in specific sections of Document 12-1.

Examining Document 12-1, Exhibits to Amended Complaint Identified & Adopted with
Commentary & Argument, the following sections set out relevant facts and conclusions relating
to the applicability of, inter alia, the doctrines of Equitable Estoppel & Quasi-Estoppel:

Document 12-1 at 4.0, et seqg., has a description of Exhibit 4, Document 12-5, which is a
letter dated April 29, 2015, notifying the Plaintiff of the sale surplus and the need for the Plaintiff
to claim the same.

Document 12-1 at 4.1, ef seq., has a description of Exhibit 4.1, Document 12-6, which is
the Plaintiff's acceptance in regards to the April 29, 2015, letter attached as Exhibit 4.0.

Document 12-1 at 5.0, et seq., has a description of Exhibit 5.0, Document 12-8, which is
a letter to the Plaintiff acknowledging that the excess funds referred to in Exhibit 4.0, have been
properly claimed as his, but to receive the same he needs to confirm his address within 15 days
of the date of the letter that is Exhibit 5.0, else the funds will be forwarded to the Unclaimed

Property Division of the State of Alaska. From 5.0 to 5.0.18 there are material facts and averments

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applicable to the issues of equitable tolling, equitable estoppel, & quasi estoppel. Specifically,
note the ‘accepted’ stamp indicative of Document 12-8 being ‘received’ by the Plaintiff some 12
days after the 15 day period set out in it to respond had expired.

Document 12-1 at 5.2, et seg., contains a description of Exhibit 5.2, Document 12-10,
which is an acceptance issued in response to the address confirmation requested in Document
42-8, Exhibit 5.0. Set out in 5.2 - 5.2.11 are material facts and averments applicable to the issues
of equitable tolling, equitable estoppel, & quasi estoppel. Specifically, note that Document 12-10,
Exhibit 5.2, was mailed in response to Document 12-8 on June 15, 2015, the same day it was
received by the Plaintiff - which was some 12 days after the 15 day period within Exhibit 5.0 had
expired.

Document 12-1 at 5.3, et seq., contains a description of Exhibit 5.3, Document 12-11,
which itself shows that the Plaintiff sent a copy of Exhibit 5.2, Document 12-10, to the writer of
both Exhibit 4.0, Document 12-5, & Exhibit 5.0, Document 12-8.

Document 12-1 at 5.4, ef seg., contains arguments based on reasonable inferences
arising from the interplay of circumstances surrounding Exhibit 4.0 & 5.0 that the Plaintiff did
successfully claim the excess funds, and thereby renders the Defendant's argument that the
excess was forfeited because the Plaintiff failed to claim them invalid and inapplicable.

Document 12-1 at 5.4, ef seq., contains arguments based on reasonable inferences
arising from the interplay of circumstances surrounding Exhibit 4.0 & 5.0 that it was the
Municipality, not the Plaintiff, that failed to comply with the law regarding the disposition of excess
funds, thereby trying to pull an ‘okey-doke’ to make it the Plaintiff's fault that he did not receive
the funds.

Document 12-1 at 5.6, et seq., contains a description of Exhibit 5.6, Document 12-11,
which is the printout results of a search of property held for the Plaintiff in the Unclaimed Property

Division as of August 23, 2023. These documents provide a basis for concluding that the excess

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funds were not forwarded to the unclaimed property division, as per statute and the express
language contained in Exhibit 5.0, Document 12- 8.

Document 12-1 at 13.0, ef seq., contains a description of Exhibit 13.0, Document 12-25,
which is a printout of the types and amounts of the unclaimed property held for the Plaintiff in the
Unclaimed Property Division as of April 3, 2024. These documents provide a basis for concluding
that the excess funds were not forwarded to the unclaimed property division, as per statute and
the express language contained in Exhibit 5.0, Document 12- 8.

As can be determined by referring to the above, in this pro se case, the Plaintiff's First
Amended Complaint states a plausible basis for application of the equitable tolling doctrine when
taken as a whole, and construing the facts and averments contained therein in the light most
favorable to the Plaintiff, as well as the application of the doctrines of equitable estoppel & quasi
estoppel, sufficient to at this time to deny the Defendant's motion.

As such, and pursuant to the Court's Order of March 13, 2024, the Plaintiff has met his
burden to cure the only deficiency that would have prevented him from otherwise pursuing what
the Court has already determined to be a sufficiently stated Eighth Amendment claim against the
Defendant. Therefore, the Court should deny the Defendant's Motion to Dismiss Plaintiff's

Amended Complaint.

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THE GROUNDS STATED IN DEFENDANT’S MOTION TO DISMISS ARE MERITLESS
WHERE THE PLAINTIFF HAS CURED THE SINGLE DEFICIENCY PREVIOUSLY
IDENTIFIED BY THE COURT AS INSUFFICIENTLY PLEAD.

Because the sole issue here is whether the amended complaint, when liberally construed,
adequately alleges facts showing the potential applicability of the equitable tolling doctrine (or the
applicability of the doctrines of equitable estoppel and/or quasi-estoppel), the grounds urged by
the Defendant as reasons to dismiss the Amended Complaint are necessarily insufficient.

Put another way, since the Plaintiff has met his burden in regards to showing the potential
applicability of the equitable tolling doctrine (or the applicability of the doctrines of equitable
estoppel and/or quasi-estoppel), the remainder of the grounds for dismissal urged by the
Defendant are meritless.

This is because the only substantive changes to the original complaint were adding
additional facts and averments that would go to the issues of either tolling or estoppel - whether
equitable or quasi. Other than that, everything else remained the same, and where those facts
were sufficient then to state a claim, (but for the tolling or estoppel issue), they are similarly
sufficient here in the amended complaint to sustain those claims.

Nonetheless, the Defendant filed a second motion seeking dismissal of the Plaintiff's
Amended Complaint on the following grounds: 1. Any Claims Are Time Barred, 2. No Liability
Under Monell, 3. There Exists A Failure To Allege A Constitutional Violation, 4. There Was No

Procedural Due Process Violation & 5. There Was Not An Actionable Eighth Amendment Claim

Stated.

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Each of these grounds, meritless though they be, are briefly addressed as follows:

|. The Plaintiff's Claims Are Time-Barred
Defendant's Claim: The Defendant argues that the Plaintiff's claims under 42
USC 1983 are barred by the statute of limitations, positing that no form of equitable tolling

applicable under Alaska law can salvage the Plaintiff's case.

Plaintiff's Response: For the reasons set out hereinabove, this ground is totally
without merit. The insufficiency of the plaintiffs original pleading was such that he was granted
leave to amend to cure the deficiencies. The sole deficiency noted was a lack of allegations upon
which to provide a plausible basis for the application of equitable tolling. By way of amendment,
the Plaintiff not only has stated facts sufficient to plausibly support equitable tolling, he has also
stated facts that would implicate the doctrines of equitable estoppel as well as quasi equity to

disallow the Defendant to avail itself of a statute of limitations defense

ll. Regarding Monell Liability

Defendant’s Misinterpretation: The Defendant misconstrues the proximate cause of

liability in the context of Monell liability.

Plaintiff's Argument: Liability stems not merely from the act of the sale but
from the actionable processes and decisions detailed in the Plaintiff's First Amended Complaint.
The Defendant's expectation of a good faith exception is unfounded, especially when considering
its failure to comply with stated requirements for handling the proceeds of the sale after the

Plaintiff filed a claim for the excess funds which was accepted.

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If the Plaintiff's amended pleading is deficient in stating sufficient facts to withstand this
assault, the proper remedy would be, as previously, granting leave to amend. However, this
ground for dismissal was not found meritorious in the March 13, 2024, Order that gave leave to
Amend; as such, it is inapplicable or any deficiency is otherwise cured by amendment of the

original.

lil. Failed to Allege a Constitutional Violation

Defendant’s Assertion: The Defendant contends that the Plaintiff has failed to

present a constitutional violation within the claims.

Plaintiff's Rebuttal: The court has previously acknowledged the Plaintiff's Eighth
Amendment claim. The First Amended Complaint, enhanced with additional material, thoroughly
supports the Plaintiff's entitlement to equitable remedies against the limitations defense, and

therefore cures the only deficiency to otherwise stating a claim that was recognized by the Court.

IV. No Procedural Due Process Violation

Defendant's Perspective: The Defendant implies adherence to due process,

barring the final steps of turnover to the unclaimed funds division.

Plaintiff's Counterargument: i. The Plaintiff engaged with the municipality's
procedure as evidenced by the issuance and response to the ‘confirm address' letter. ii. The failure
of the municipality to forward the funds as required by law, despite the Plaintiff's compliance,
constitutes a procedural due process violation. iii. Questions exist as to why a letter dated May
19, 2015, with a response required within 15 days of the date of the letter, was not received by
the Plaintiff until June 15, 2015 - some 12 days after the final day allowed for responding, after

which the excess funds were to be forwarded to Unclaimed Property Division but were not.

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V. Not an Actionable Eighth Amendment Claim

Defendant’s Argument: The Defendant questions the actionability of the Plaintiff's

Eighth Amendment claim regarding excessive fines.

Plaintiff's Position: The amended complaint details a valid Eighth Amendment
excessive fines claim, highlighting the Plaintiff's legitimate claim on the excess funds and the
municipality's subsequent mishandling of the process, which effectively subjected the Plaintiff to

excessive fines and potentially cruel and unusual punishment.

OVERALL CONCLUSION TO THIS RESPONSE IN OPPOSITION TO THE DEFENDANT’S
MOTION TO DISMISS THE PLAINTIFF’S FIRST AMENDED COMPLAINT

The Plaintiff respectfully requests that the Court deny the Defendant’s Second Motion to
Dismiss, as the grounds presented by the Defendant fail to sufficiently challenge the viability and
legality of the Plaintiff's claims outlined in the First Amended Complaint once the Plaintiff corrected
the deficiencies noted by the Court in its March 13, 2024, Order which gave him leave to amend

the original complaint.

. . j in Vv
Respectfully submitted, this day of Une , 2024

PP thee
DAVID PAUL BIESEMEYER, Pro Se
Plaintiff above named

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Palmer, AK 99645

907 982 2328
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CERTIFICATE OF SERVICE

COMES NOW the undersigned who states that he has served the foregoing Response
in Opposition to the Defendant's Second Motion to Dismiss on the Defendant by placing a copy
of the same in the US mail, with adequate first class postage affixed thereto and addressed to:

Jason A. Thomas
Municipal Attorney's Office
PO Box 196650
Anchorage Alaska 99519-6650

As well as through the ECF filing system to the extent that opposing counsel receives

notification upon the filing of pleadings in this matter.

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This {! day of June 2024

Jouve Biman

DAVID PAUL BIESEMEYER, Pro Se
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Response in Opposition to Second Motion to Dismiss
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